             Case 2:12-cv-01282-JLR Document 631 Filed 07/27/20 Page 1 of 2



 1

 2

 3

 4

 5

 6

 7
                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9

10         UNITED STATES OF AMERICA,                     CASE NO. C12-1282JLR

11                              Plaintiff,               ORDER ON JOINT STATUS
                  v.                                     REPORT
12
           CITY OF SEATTLE,
13
                                Defendant.
14

15         On July 24, 2020, the court ordered the parties to submit a joint status report

16   detailing a proposed schedule for briefing on a preliminary injunction by “Wednesday,

17   August 1, 2020.” (See TRO (Dkt. # 630) at 11.) For the avoidance of doubt, the court

18   //

19   //

20   //

21   //

22   //


     ORDER - 1
              Case 2:12-cv-01282-JLR Document 631 Filed 07/27/20 Page 2 of 2



 1   amends that portion of its order and clarifies that the deadline for the parties to submit a

 2   joint status report is Wednesday, August 5, 2020.

 3          Dated this 27th day of July, 2020.

 4

 5                                                     A
                                                       JAMES L. ROBART
 6
                                                       United States District Judge
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22


     ORDER - 2
